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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



   IN RE: VALSARTAN,
   LOSARTAN, AND IRBESARTAN                                        MDL No. 2875
   PRODUCTS LIABILITY
   LITIGATION
                                                            HON. ROBERT B. KUGLER
   THIS DOCUMENT RELATES TO ALL
   CASES



                                     [PROPOSED] ORDER
         THIS MATTER, having come before the Court by Plaintiffs’ motion for an order excluding

  the opinions of Defendants’ class certification expert Timothy E. Kosty, and the Court having

  considered the submissions of the parties and any argument thereon, and for good cause shown, it

  is hereby ORDERED that the motion is GRANTED.




         So ordered, this ____ day of ___________, 2022,


  __________________
  Robert B. Kugler, U.S.D.J.
